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                        Exhibit 2
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Charted Claims
Non-Method Claim: 1
   US8788360                            HMD Global’s Nokia 3.4 (“The Accused Product”)
1. A system for    The accused product utilizes a system (e.g., NFC System: NFC feature to read NFC tag
processing a       information ) for processing a wireless request (e.g., user requesting access to NFC Tag
wireless request   information by clicking the contents, websites/web address, online services, business
over a network     car or calling someone) over a network based on a human-perceptible advertisement
based on a         for advertising to consumers a product or service (e.g., contents, websites/web
human-             address, online services, business car or calling someone from an NFC tag information)
perceptible        offered by a vendor, the advertisement (e.g., contents, websites/web address, online
advertisement      services, business car or calling someone from an NFC tag information) attached with at
for advertising    least one radio frequency identification (RFID) tag (e.g., near field communication (NFC)
to consumers a     tags), the at least one RFID tag (e.g., near field communication (NFC) tags) being
product or         configured to transmit a wireless identification transmission signal (e.g., NFC tag
service offered    information) representing information pertaining to the product or service (e.g.,
by a vendor, the   contents, websites/web address, online services, business car or calling someone from
advertisement      an NFC tag information) offered by a vendor comprising:
attached with at
least one radio    As shown below, HMD Global’s Nokia 3.4 with an NFC feature allows user to read (i.e.,
frequency          processing a wireless request) near field communication (NFC) tags that contain tag
identification     information about contents, websites, online services or to call someone (e.g.,
(RFID) tag, the    advertising to consumers a product or service) over a network.
at least one
RFID tag being
configured to
transmit a
wireless
identification
transmission
signal
representing
information
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pertaining to the
product or
service offered
by a vendor
comprising:




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       https://www.hmd.com/en_us/support/nokia-3-4-user-guide/nfc
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       https://www.hmd.com/en_us/support/api/pdf/nokia-3-4-user-guide
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       https://www.hmd.com/en_us/support/api/pdf/nokia-3-4-user-guide
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       http://nearfieldcommunication.org/technology.html
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                  http://nearfieldcommunication.org/technology.html




                  https://www.iso.org/standard/59643.html

mobile ordering   The accused product is a mobile ordering device (e.g., HMD Global’s Nokia 3.4) of a
device of a       human consumer who perceives the human-perceptible advertisement (e.g., contents,
human             websites/web address, online services, business car or calling someone from an NFC tag
consumer who      information), the mobile ordering device (e.g., HMD Global’s Nokia 3.4) comprising a
perceives the     radio frequency identification reader (e.g., NFC Reader on the back of the phone)
human-            configured to transmit a signal (e.g., transmitting a continuous-wave (CW) RF signal for
perceptible       reading the NFC tag information by taping the NFC area on the back of the phone to a
advertisement,    tag) to the at least one RFID tag (e.g., near field communication (NFC) tags) attached
the mobile        with the advertisement (e.g., contents, websites/web address, online services, business
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ordering device     car or calling someone from an NFC tag information) and to receive in response from
comprising a        the at least one RFID tag (e.g., near field communication (NFC) tags) the wireless
radio frequency     identification transmission signal (e.g., NFC Tag information) corresponding to the
identification      advertisement (e.g., contents, websites/web address, online services, business car or
reader              calling someone from an NFC tag information), the mobile ordering device (e.g., HMD
configured to       Global’s Nokia 3.4) and representing information pertaining to the product or service
transmit a signal   (e.g. contents, websites/web address, online services, business car or calling someone
to the at least     from an NFC tag information) offered by the vendor, the mobile ordering device (e.g.,
one RFID tag        HMD Global’s Nokia 3.4) further configured to accept input from a consumer, generate
attached with       an electronic request (e.g., user requesting access to NFC Tag information by clicking
the                 the contents, websites/web address, online services, business car or calling someone)
advertisement       with the received information from the wireless identification transmission signal (e.g.,
and to receive in   NFC Tag information) and communicate the request (e.g., user requesting access to
response from       NFC Tag information by clicking the contents, websites/web address, online services,
the at least one    business car or calling someone) to and receive a response (e.g., rendering information
RFID tag the        in response to clicking the contents, websites/web address, online services, business
wireless            car or calling someone from an NFC tag) from a commerce data system (e.g.,
identification      appropriate app or websites associated with the contents, websites/web address, online
transmission        services, business car or calling someone from an NFC tag) across a network.
signal
corresponding to    As shown below, HMD Global’s Nokia 3.4 with an NFC feature allows user to read (i.e.,
the                 processing a wireless request) near field communication (NFC) tags that contain tag
advertisement       information about contents, websites, online services or to call someone (e.g.,
and                 advertising to consumers a product or service) over a network. The HMD Global’s Nokia
representing        3.4 is equipped with NFC area on the back of the phone ( Interrogator/reader or radio
information         frequency identification reader) to which the user can provide a request for reading tag
pertaining to the   information about contents, websites/web address, online services, business car or
product or          calling someone from an NFC tag from an NFC tag by touching the back of the device
service offered     (NFC Reader) near an NFC tag (RFID Tag). The NFC tags respond to the request by
by the vendor,      providing the tag information to the mobile ordering device (e.g., HMD Global’s Nokia
the mobile          3.4). Further, the user requests access to NFC Tag information by clicking contents,
ordering device     websites/web address, online services, business car or calling someone from an NFC
further             tag. An appropriate app or website (e.g., commerce data system) will thereby render
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configured to    information in response to clicking contents, websites/web address, online services,
accept input     business car or calling someone from an NFC tag.
from a
consumer,
generate an
electronic
request with the
received
information from
the wireless
identification
transmission
signal and
communicate
the request to
and receive a
response from a
commerce data
system across a
network;




                 https://www.hmd.com/en_us/support/nokia-3-4-user-guide/nfc
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                  https://www.iso.org/standard/59643.html


the mobile        The accused product discloses the mobile ordering device (e.g., HMD Global’s Nokia
ordering device   3.4) in communication with the commerce data system (e.g., appropriate app or
in                websites associated with the contents, websites/web address, online services, business
communication     car or calling someone from an NFC tag), the commerce data system (e.g., appropriate
with the          app or websites associated with the contents, websites/web address, online services,
commerce data     business car or calling someone from an NFC tag) for receiving and processing the
system, the       request (e.g., user requesting access to NFC Tag information by clicking the contents,
commerce data     websites/web address, online services, business car or calling someone) of the mobile
system for        ordering device (e.g., HMD Global’s Nokia 3.4) across the network, and responding to
receiving and     the request (e.g., user requesting access to NFC Tag information by clicking the
processing the    contents, websites/web address, online services, business car or calling someone) by
request of the    sending information (e.g., rendering information in response to clicking the contents,
mobile ordering   websites/web address, online services, business car or calling someone from an NFC
device across     tag) to the mobile ordering device (e.g., HMD Global’s Nokia 3.4) via the network, the
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the network,       information (e.g., rendering information in response to clicking the contents,
and responding     websites/web address, online services, business car or calling someone from an NFC
to the request     tag) associated with the wireless identification transmission signal (e.g., NFC Tag
by sending         information).
information to
the mobile         As shown below, HMD Global’s Nokia 3.4 with an NFC feature allows user to read (i.e.,
ordering device    processing a wireless request) near field communication (NFC) tags that contain tag
via the network,   information about contents, websites, online services or to call someone (e.g.,
the information    advertising to consumers a product or service) over a network. The user requests
associated with    access to NFC Tag information by clicking contents, websites/web address, online
the wireless       services, business car or calling someone from an NFC tag. An appropriate app or
identification     website (e.g., commerce data system) will thereby render information in response to
transmission       clicking contents, websites/web address, online services, business card or calling
signal.            someone from an NFC tag.
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